              Case 3:21-cr-00162-WHO Document 42 Filed 10/19/23 Page 1 of 5



 1   ISMAIL J. RAMSEY (CABN 189820)
     United States Attorney
 2

 3   TOM COLTHURT (CABN 99493)
     Chief, Criminal Division
 4
     MICHAEL J. MORSE (CABN 291763)
 5
     JUAN M. RODRIGUEZ (CABN 313284)
 6   Special Assistant United States Attorneys

 7          450 Golden Gate Avenue, Box 36055
            San Francisco, California 94102-3495
 8
            Telephone: (213) 894-7367/0304
 9          FAX: (213) 894-7631
            michael.morsel@usdoj.gov
10          juan.rodriguez@usdoj.gov
11
     Attorney for Petitioner United States of America
12
                                IN THE UNITED STATES DISTRICT COURT
13
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
14

15                                    SAN FRANCISCO DIVISION

16   UNITED STATES,                                     Case No.CR-21-00162-WHO
17                 Plaintiff,                           STIPULATION    TO      CONTINUE
18                                                      STATUS   CONFERENCE         FROM
     v.                                                 OCTOBER 19, 2023 AT 1:30 PM TO
19                                                      NOVEMBER 30, 2023 AT 1:30 PM, AND
     BABAK BROUMAND AND                                 EXCLUDE TIME UNDER THE
20   MALAMATENIA MAVROMATIS,                            SPEEDY    TRIAL     ACT;      AND
21                                                      [PROPOSED] ORDER
                   Defendants.
22

23

24
                                          STIPULATION
25

26          The parties hereby stipulate that the currently set status conference be continued from

27   October 19 2023, at 1:30 p.m. to November 30, 2023, at 1:30 p.m. Defendant BABAK
28
     BROUMAND is in custody in the Central District of California, serving a 72-month sentence,

     STIPULATION AND [PROPOSED] ORDER
     United States v. Broumand, et al;
     Case No. CR-21-00162-WHO
                                                   1
              Case 3:21-cr-00162-WHO Document 42 Filed 10/19/23 Page 2 of 5



 1   after being convicted at jury trial in United States v. Broumand, 20-224-RGK(A). Defendant
 2
     MALAMANTENIA MAVROMATIS is not in custody.
 3
            1. Defendant BABAK BROUMAND is in custody in the Central District of
 4
     California after being convicted at jury trial in the related case of United States v. Broumand,
 5

 6   20-224-RGK(A).

 7          2. The government has produced over 60,000 pages of discovery to defendant
 8
     MAVROMATIS, which primarily consists of business records, including bank, credit card,
 9
     mortgage broker, title company, and escrow company records, tax returns, and witness
10
     interview reports.
11

12          3. On March 24, 2022, the government obtained a superseding indictment in this case

13   adding defendant MAVROMATIS, who first appeared in this case on April 19, 2022, in
14
     which she was charged with two counts of False Statements on a Loan Application in
15
     violation of 18 U.S.C. § 1014 (Counts Four and Six). Prior to defendant MAVROMATIS’s
16
     indictment, co-defendant BABAK BROUMAND had already been charged.
17

18          4. Counsel for both defendants agree that additional time is needed for meaningful

19   preparation for trial, including additional research and investigation, and discussions with their
20
     clients and the government regarding possible pretrial resolution. The parties are currently
21
     engaged in earnest pretrial resolution discussion that may obviate the need for trial. The
22
     government expects to extend a proposed global disposition in the coming weeks. Thus, both
23

24   defendants agree more time is needed to receive, review, and advise their clients on the

25   government’s proposed global disposition in this matter.
26

27

28


     STIPULATION AND [PROPOSED] ORDER
     United States v. Broumand, et al;
     Case No. CR-21-00162-WHO
                                                     2
                Case 3:21-cr-00162-WHO Document 42 Filed 10/19/23 Page 3 of 5



 1           5. The government and counsel for the defendants agree that time be excluded under
 2
     the Speedy Trial Act so that defense counsels can continue to prepare for trial and engage in
 3
     pretrial resolution discussions.
 4
             6. The parties stipulate and agree that excluding time until November 30, 2023, will
 5

 6   allow for the effective preparation of counsel. See 18 U.S.C. § 3161(h)(7)(B)(iv). The parties

 7   further stipulate and agree that the ends of justice served by excluding the time from October
 8
     19, 2023, through November 30, 2023, from computation under the Speedy Trial Act outweigh
 9
     the best interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A),
10
     (B)(iv).
11

12           7. The parties are also discussing resolution of this entire matter and require more time

13   to discuss different settlement alternatives. The parties believe that they are close to reaching
14
     a pretrial resolution.
15
     //
16
     //
17

18

19

20

21

22

23

24

25

26

27

28


     STIPULATION AND [PROPOSED] ORDER
     United States v. Broumand, et al;
     Case No. CR-21-00162-WHO
                                                    3
              Case 3:21-cr-00162-WHO Document 42 Filed 10/19/23 Page 4 of 5



 1          8. The undersigned Assistant United States Attorneys certify that they have obtained
 2
     approval from all counsel to file this stipulation and proposed order.
 3
     IT IS SO STIPULATED.
 4
     DATED: October 18, 2023                             /s/ Michael J. Morse__
 5
                                                        MICHAEL J. MORSE
 6                                                      JUAN M. RODRIGUEZ
                                                        Special Assistant United States Attorney
 7

 8

 9   DATED: October 18, 2023                              /s/ Steven F. Gruel___
                                                        STEVEN F. GRUEL
10                                                      Counsel for Defendant BROUMAND
11

12   DATED: October 18, 2023                             /s/ Paul H. Nathan
                                                        PAUL H. NATHAN
13                                                      Counsel for Defendant MAVROMATIS
14

15
                                          [PROPOSED] ORDER
16
            Based upon the facts set forth in the stipulation of the parties and for good cause shown,
17

18   the Court hereby continues the status conference from October 19, 2023, at 1:30 p.m. to

19   November 30, 2023, at 1:30 p.m.
20
            Furthermore, the Court finds that failing to exclude the time from October 19, 2023,
21
     through November 30, 2023, would unreasonably deny defense counsel and the defendant the
22
     reasonable time necessary for effective preparation, taking into account the exercise of due
23

24   diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).

25          The Court further finds that the ends of justice served by excluding the time from
26

27

28


     STIPULATION AND [PROPOSED] ORDER
     United States v. Broumand, et al;
     Case No. CR-21-00162-WHO
                                                    4
              Case 3:21-cr-00162-WHO Document 42 Filed 10/19/23 Page 5 of 5



 1   October 19, 2023, through November 30, 2023, from computation under the Speedy Trial Act
 2
     outweigh the best interests of the public and the defendants in a speedy trial. Therefore, and
 3
     with the consent of the parties,
 4
            IT IS HEREBY ORDERED that the time from October 19 2023, through November
 5

 6   30, 2023, shall be excluded from computation under the Speedy Trial Act. 18 U.S.C. §

 7   3161(h)(7)(A), (B)(iv).
 8

 9
     IT IS SO ORDERED.
10

11
                                                 ------------------------------------------------
12   DATED:                                       HONORABLE WILLIAM H. ORRICK
                                                  United States District Court
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     STIPULATION AND [PROPOSED] ORDER
     United States v. Broumand, et al;
     Case No. CR-21-00162-WHO
                                                   5
